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 5                          IN THE UNITED STATES DISTRICT COURT
 6                                FOR THE DISTRICT OF ARIZONA
 7
 8   Kari Lake, et al.,                                NO. CV-22-00677-PHX-JJT
 9                  Plaintiffs,
                                                      JUDGMENT OF DISMISSAL IN A
10   v.
                                                      CIVIL CASE
11   Katie Hobbs, et al.,
12                  Defendants.
13
14            Decision by Court. This action came for consideration before the Court. The
15   issues have been considered and a decision has been rendered.
16            IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order filed
17   August 26, 2022, this action is dismissed in its entirety.
18
19                                              Debra D. Lucas
                                                District Court Executive/Clerk of Court
20
21   August 26, 2022
                                                s/ Wendy Poth
22                                        By    Deputy Clerk
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